  Case 5:05-cr-00006-DCB-FKB   Document 110   Filed 04/26/06   Page 1 of 4



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION

UNITED STATES OF AMERICA

VERSUS                                        CRIMINAL NO. 5:05cr6(02)

ANNETTE M. THIEM                                                 DEFENDANT

                     MEMORANDUM OPINION AND ORDER

        This matter comes before the Court on Annette M. Thiem’s

Motion for a Judgment of Acquital and in the Alternative, for New

Trial     [docket entry no. 89] and Thiem’s Amended Motion for a

Judgment of Acquital and in the Alternative, for New Trial [docket

entry no. 90].    Thiem and her co-defendant, Ronald Wayne Shugart,

were indicted on May 18, 2005 by a federal Grand Jury, under a two-

count indictment.    Count One of the indictment charged Thiem with

kidnapping two juveniles in violation of 18 U.S.C. § 1201(a).

Count Two of the indictment charged the defendant with carjacking

in violation of 18 U.S.C. § 2119(1).     See Indictment [docket entry

no. 5].

        Upon agreed motion by the government and the defense, Thiem

and Shugart were tried separately.        The jury returned a guilty

verdict on both counts against Thiem on January 19, 2006.           Thiem’s

counsel made a Fed. R. Crim. P. 29 motion both at the close of the

government’s case in chief as well as at the close of all the

evidence.    The Court rejected both motions, holding that there was

sufficient evidence of Thiem’s guilt as to both counts for a

reasonable jury to return a guilty verdict.
  Case 5:05-cr-00006-DCB-FKB           Document 110    Filed 04/26/06    Page 2 of 4



        Presently before this Court is Thiem’s renewed Motion for a

Judgment of Acquittal or in the Alternative, for New Trial and her

Amended Motion for a Judgment of Acquittal or in the Alternative,

for New Trial.           The Court will consider the first such motion as

moot inasmuch as the latter purports to be an amendment.

        In her Motion, Thiem alleges that “there was not substantial

and competent evidence to support the verdict on Counts One and

Two.”       Amended Motion for a Judgment of Acquittal, ¶1.                The Court

recognizes that there was the potential for a hearsay objection

from the defense as to certain testimony produced at Thiem’s trial

regarding whether the vehicle involved in the carjacking had

crossed state lines;1 however, no objection thereto was made at

trial.       “[U]nobjected-to hearsay may be considered by the trier of

fact        for   such     probative   value    as    it   may   have.”       Peaches

Entertainment v. Entertainment Repertoire, 62 F.3d 690, 694 (5th

Cir. 1995) (quoting Flores v. Estelle, 513 F.2d 764, 766 (5th Cir.

1975)).           The Court further finds, as it did at trial, that

sufficient evidence was presented at trial to support the jury’s

finding of guilt.

        The defendant also claims that her alleged duress defense was

proven by a preponderance of the evidence and that the government

failed       to    rebut    that   defense     with   competent    and    sufficient



        1
       Such an interstate nexus is a necessary component of the
federal carjacking statute. See 18 U.S.C. § 2119.

                                          -2-
  Case 5:05-cr-00006-DCB-FKB           Document 110     Filed 04/26/06     Page 3 of 4



evidence.       Amended Motion for a Judgment of Acquittal, ¶5.                      The

Court finds that the jury could properly have discounted Thiem’s

duress defense in rendering its verdict.

        The defendant further argues that this Court erred when it

refused to allow defense counsel to present psychological testimony

concerning Thiem’s subjective state of mind in connection with her

defense of duress.           The Court carefully considered this issue at

trial,    and    a     record    was    made    regarding     its    reasoning       for

restricting      the    expert    testimony.          Moreover,     the    defendant’s

related claims concerning various alleged errors in connection with

restrictions on the proffered psychological testimony are also

unconvincing.          Therefore, the defendant has failed to present

sufficient argument to convince this Court that its previous

rulings on this issue were in error.

        In her amended motion, Thiem further claims that the Court

“erred in admitting Defendant’s purported confession dated May 6,

which    violated      her    rights     guaranteed      by   the    United       States

Constitution[.]”        Amended Motion for a Judgment of Acquittal, ¶8.

At trial, the Court found that Thiem’s constitutional rights were

not violated through the taking of her confession and that the

confession could properly be relayed to the jury.                           Again, the

defendant offers nothing to convince the Court that this finding

was in error.        Accordingly,

     IT IS HEREBY ORDERED               that    the   defendant’s        Motion   for    a


                                          -3-
  Case 5:05-cr-00006-DCB-FKB   Document 110   Filed 04/26/06   Page 4 of 4



Judgment of Acquittal and in the Alternative, for New Trial [docket

entry no. 89] is MOOT;

     IT IS FURTHER ORDERED that the defendant’s Amended Motion for

a Judgment of Acquittal and in the Alternative, for New Trial

[docket entry no. 90] is DENIED.

     SO ORDERED, this the 26th day of April, 2006.



                                         S/DAVID BRAMLETTE
                                         UNITED STATES DISTRICT JUDGE




                                  -4-
